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                            United States District Court
                                   EASTERN DISTRICT OF TEXAS
                                       SHERMAN DIVISION

   JOHN PRIESTER, JR., BETTIE PRIESTER              §
                                                    §
   v.                                               §   Civil Action No. 4:16-CV-449
                                                    §   (Judge Mazzant/Judge Nowak)
   DEUTSCHE BANK NATIONAL TRUST                     §
   COMPANY, ET AL.

                   MEMORANDUM ADOPTING REPORT AND
            RECOMMENDATION OF UNITED STATES MAGISTRATE JUDGE

         Came on for consideration the report of the United States Magistrate Judge in this action,

  this matter having been heretofore referred to the Magistrate Judge pursuant to 28 U.S.C. § 636.

  On May 19, 2017, the report of the Magistrate Judge (Dkt. #82) was entered containing proposed

  findings of fact and recommendations that Plaintiffs John Priester and Bettie Priester’s Partially

  Unopposed Motion for Miscellaneous Relief (Dkt. #74) be granted in part and denied in part and

  that Plaintiffs’ first-filed Amended Complaint (Dkt. #66) be stricken. Having received the report

  and recommendation of the Magistrate Judge (Dkt. #82), having considered Plaintiffs’ timely filed

  objections (Dkt. #87) Defendants’ response thereto (Dkt. #95), and Plaintiffs’ reply (Dkt. #97),

  and having conducted a de novo review, the Court is of the opinion that the findings and

  conclusions of the Magistrate Judge are correct and adopts the Magistrate Judge’s report (Dkt. #82)

  as the findings and conclusions of the Court.

                                  RELEVANT BACKGROUND

         The Court already has detailed the factual and procedural history of this case in prior

  memoranda entered in this matter (see Dkt. #62; Dkt. #64), and the Magistrate Judge explains

  thoroughly the background related to the motion at issue here (see Dkt. #82 at 1-3). Accordingly,
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  the Court outlines only the background necessary to address Plaintiffs’ objections and Defendants’

  response thereto.

             In late 2005, Plaintiffs Bettie and John Priester acquired from Long Beach Mortgage

  Company (“Long Beach”) a home equity loan secured by a first lien on their home (Dkt. #3 at 5).

  See also Priester v. JP Morgan Chase Bank, N.A. (Priester I), 708 F.3d 667, 671 (5th Cir. 2013).

  Contemporaneous with closing the loan, Plaintiffs executed a Texas Home Equity Affidavit and

  Agreement (the “Home Equity Affidavit”) making various representations, including that they

  closed the loan in compliance with the Texas Constitution (Dkt. #10, Exhibit A). Nearly five years

  later, in mid-2010, Plaintiffs sent Long Beach (and subsequently JPMorgan Bank, N.A. (“Chase”),

  which had acquired the loan) a letter requesting that Long Beach and/or Chase “cure” alleged

  constitutional deficiencies with the home equity loan. Plaintiffs alleged they had only just

  discovered such deficiencies. Chase took no action to remedy the alleged deficiencies, and, as a

  result, Plaintiffs sued Chase (and various others) in state court, seeking declaratory judgment.

  Specifically, Plaintiffs asserted “that the closing of the loan occurred in their home rather than at

  the office of an attorney, the lender, or a title company as required by the Texas Constitution[] . . .

  [and] that they did not receive notice of their rights twelve days before closing as required by the

  state constitution.” Priester I, 708 F.3d at 671. Chase then removed to federal court and, after the

  district court granted Chase’s motion to dismiss and the Fifth Circuit affirmed, Plaintiffs’ case was

  dismissed. Id. at 672, 679. In October 2013, the U.S. Supreme Court denied Plaintiffs’ writ of

  certiorari (see Dkt. #62 in Case No. 4:10-cv-641).1

             Subsequently, on November 26, 2014, Deutsche Bank filed an application for an expedited

  order of foreclosure under Texas Rule of Civil Procedure 736 (“Rule 736”) seeking an order



  1
      The Court refers to this set of proceedings collectively and hereinafter as the “Original Federal Action.”


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  permitting it to proceed with foreclosure of Plaintiffs’ home (hereinafter the “Original State Court

  Action”) (see Register of Actions in Case No. 429-04751-2014 in the 429th District Court of Collin

  County, Texas).     The parties to the Original State Court Action included Deutsche Bank

  (as applicant), the current occupant of the home (as defendant), and Plaintiffs (as defendants).

  After conducting a hearing, the state court ordered expedited foreclosure on March 15, 2016.

         Plaintiffs filed this case in the 380th Judicial District Court of Collin County, Texas, on

  June 6, 2016, seeking, inter alia, to prevent Defendants from foreclosing Plaintiffs’ home

  (Dkt. #1). Defendants removed the case on June 27, 2016, asserting the Court had diversity

  jurisdiction over the matter because Plaintiffs had improperly joined a number of non-diverse

  defendants (Dkt. #1). The Court agreed, finding Plaintiffs had improperly joined the non-diverse

  defendants, and dismissing the non-diverse defendants from this suit (Dkt. #62). In the meantime,

  Defendants had filed a motion for judgment on the pleadings arguing, inter alia, the Court should

  dismiss Plaintiffs’ claims as barred by res judicata (Dkt. #10). Plaintiffs alleged, however, that a

  material change in circumstances had occurred, precluding application of the res judicata defense

  (Dkt. #23). The Court determined after considering the arguments that “Plaintiffs should be

  afforded leave to amend their Original Petition so as to more fully set out the details of the alleged

  material change of circumstances” and provided Plaintiffs leave through March 17, 2017, to file

  an amended complaint setting forth such details (Dkt. #64).

         Plaintiffs thereafter filed an Amended Complaint on March 17, 2017 (Dkt. #66)

  (hereinafter the “First-Filed Amended Complaint”), purporting therein to assert claims against the

  previously dismissed non-diverse defendants as well as new claims against Defendants Deutsche

  Bank and Select Portfolio Services, Inc. (“SPS”), and attempting to join an additional non-diverse




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  defendant, Hughes, Watters & Askanse LLP (“HWA”).2 Specifically, through the First-Filed

  Amended Complaint, Plaintiffs claim HWA is a “Texas Limited Liability Company” based in

  Houston, Texas, which makes it a “Texas resident[,] destroying diversity” (Dkt. #66 at 2, 4).

  Plaintiffs allege, as well, that SPS retained HWA in or around November 2014 “to collect the

  alleged debt surrounding [Plaintiffs’ home]” and that “HWA threatened foreclosure on the void

  lien” at the center of this lawsuit; Plaintiffs claim these actions constitute violations of the Fair

  Debt Collection Practices Act (“FDCPA”) (on the part of HWA and SPS) and the Texas Debt

  Collection Act (“TDCA”) (on the part of HWA, SPS, and Deutsche Bank) (Dkt. #66 at 10, 29-30).

  Defendants (including the previously dismissed non-diverse defendants) responded by filing

  multiple motions to dismiss, raising myriad objections to the First-Filed Amended Complaint

  (Dkt. #69; Dkts. #71-73). Plaintiffs then filed the instant motion (Dkt. #74) and a further Amended

  Complaint (Dkt. #75) (hereinafter the “Amended Complaint”), which largely duplicates the First-

  Filed Amended Complaint but removes the previously dismissed defendants from its roster of

  “Parties.” In sum, the Amended Complaint names a new party (HWA) and includes new claims

  under the FDCPA against SPS and HWA and under the TDCA against SPS, HWA, and Deutsche

  Bank.

          The Magistrate Judge entered a report and recommendation on May 19, 2017,

  recommending that Plaintiffs’ Partially Unopposed Motion for Miscellaneous Relief (Dkt. #74) be

  granted in part and denied in part, and that the First-Filed Amended Complaint (Dkt. #66) be

  stricken (Dkt. #82).       Plaintiffs timely filed objections to the Magistrate Judge’s report and




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    The Court notes Plaintiffs filed the First-Filed Amended Complaint without seeking leave to assert new claims or to
  join new party-defendants, and the time had expired under the then-existing scheduling order so to do (see Dkt. #32).


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  recommendation on June 2, 2017 (Dkt. #87), and Defendants responded in turn on June 13, 2017

  (Dkt. #95). Plaintiffs filed a reply to Defendants’ response on June 16, 2017 (Dkt. #97).3

                                             OBJECTIONS

          A party who files timely written objections to a magistrate judge’s report and

  recommendation is entitled to a de novo review of those findings or recommendations to which

  the party specifically objects. 28 U.S.C. § 636(b)(1)(C); Fed. R. Civ. P. 72(b)(2)-(3). At the outset,

  the Court notes the Magistrate Judge finds in the report and recommendation that (1) the First-

  Filed Amended Complaint should be stricken, (2) “leave to add the non-diverse Defendant HWA

  should be denied,” (3) “Plaintiffs’ new claim against SPS for violation of the FDCPA has no merit”

  and accordingly is futile; (4) “leave to add the TDCA claims pleaded in the Amended Complaint

  [against Deutsche Bank and SPS] should be granted[,]” and (5) “[a]ny other requests to amend

  made by Plaintiffs through [the instant motion] should be denied” (Dkt. #82 at 3 n.1, 16). Neither

  Party objects to the Magistrate Judge’s first, fourth, or fifth findings. As such, the Court adopts

  these findings and proceeds to evaluate Plaintiffs’ objections regarding the FDCPA claims against

  HWA and SPS (the second and third findings), and the denial of leave to join HWA (the second

  finding).

          Plaintiffs object that the Magistrate Judge erred in finding Plaintiffs’ amendment to add

  claims against (and to join) HWA in this lawsuit improper (Dkt. #87). Specifically, Plaintiffs

  assert the Magistrate Judge erroneously applied the stricter standard for post-removal joinder of a

  non-diverse defendant (supplied by Hensgens v. Deere & Co., 833 F.2d 1179 (5th Cir. 1987))

  because Plaintiffs allege a claim under the FDCPA (and thus a federal question) against HWA.

  Further, Plaintiffs assert that, even if Hensgens does apply, the Magistrate Judge improperly


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   The Court GRANTS Plaintiffs’ Unopposed Motion for Leave to Reply to Defendants’ Response to Plaintiffs’
  Objections to the Magistrate’s Report and Recommendations (Dkt. #96).


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  applied the Hensgens factors and, thus, found Plaintiffs should not be permitted leave to join (or

  assert claims against) HWA. Finally, Plaintiffs claim that, under the lighter standard governing

  amendment of pleadings after a scheduling order deadline has expired (via Federal Rule of Civil

  Procedure 16(b) and S&W Enters. v. SouthTrust Bank, 315 F.3d 533, 536 (5th Cir. 2003)), which

  the Magistrate Judge should have applied, Plaintiffs’ request for leave to amend must be granted

  (Dkt. #87). Defendants argue in response that (1) the Magistrate Judge properly applied the

  Hensgens factors (and reached the appropriate conclusion in so doing) because Plaintiffs clearly

  intended to destroy the Court’s subject matter jurisdiction through joinder of HWA and (2) an

  amendment to add an FDCPA claim against HWA would be futile (because the claim is barred by

  the statute of limitations or because HWA has immunity against Plaintiffs’ claims) (Dkt. #95).

  Plaintiffs contend in their reply in support of their objections that Defendants misinterpret the

  relation back doctrine and assert Rule 15(c)(1)(B) should apply such that Plaintiffs need only show

  the amendment relates to a core set of facts set out in the original pleading (Dkt. #97). Plaintiffs

  assert, as well, that their amendment should relate back to Defendant’s initiation of the Rule 736

  proceeding in November 2014. Plaintiffs also argue for the first time that the Magistrate Judge

  erred in finding their claim in the Amended Complaint against SPS futile (Dkt. #97).

  Futility of FDCPA Claims

         The Court first addresses the Parties’ arguments concerning Plaintiffs’ new FDCPA claims

  against SPS and HWA and finds that (1) these claims are barred by the applicable statute of

  limitations and (2) any amendment to add such claim would be futile. See, e.g., Crostley v. Lamar

  Cty., 717 F.3d 410, 422 (5th Cir. 2013) (finding “the bar created by the statute of limitation for a

  claim against [defendant] means that an amendment adding him as a defendant would indeed be

  futile” and affirming the district court’s denial of motion for leave); August v. Woods, No. 1:12-




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  CV-15, 2015 WL 1119736, at *2 (E.D. Tex. Feb. 13, 2015), report and recommendation adopted,

  2015 WL 1119766 (E.D. Tex. Mar. 12, 2015) (“The proposed amendments are futile because the

  claims against the newly-identified defendants are barred by the statute of limitations.”).

           The FDCPA provides that “[a]n action to enforce any liability created by [the FDCPA]

  may be brought in any appropriate United State district court . . . or in any other court of competent

  jurisdiction, within one year from the date on which the violation occurs.” 16 U.S.C. § 1692k.

  Plaintiffs allege HWA’s violation of the FDCPA took place in approximately November 2014

  (Dkt. #75 at 9); accordingly, absent some reason for tolling the limitations period (and Plaintiffs

  raise none here),4 Plaintiffs should have raised any claims under the FDCPA on or before

  November 2015. Plaintiffs, however, did not initiate the present lawsuit until June 6, 2016, well

  after the limitations period had run (see Dkt. #3). Further, even were the Court to consider

  November 26, 2014, the date on which Defendant Deutsche Bank initially applied for an expedited

  order of foreclosure (and in response to which Plaintiffs filed the instant suit), as the date on which

  the present litigation began for limitations purposes, Plaintiffs wholly fail to articulate any valid

  reason why their newly raised FDCPA claims should relate back to that date and/or why they

  should be tolled.5

           Federal Rule of Civil Procedure 15(c)(1) reads in whole as follows:

           An amendment to a pleading relates back to the date of the original pleading when:

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    Plaintiffs claim for the first time in their reply in support of their objections that the statute of limitations on their
  FDCPA claims should be tolled because the statute of limitations on their underlying claims (under the Texas
  Constitution) has changed pursuant to the Texas Supreme Court’s decision in Wood v. HSBC Bank USA, N.A., 505
  S.W.3d 542, 547 (Tex. 2016). Plaintiffs cite no authority for this position and, in any event, failed to raise these
  arguments and allegations before the Magistrate Judge. See, e.g., Imperium (IP) Holdings, Inc. v. Apple, Inc., 920
  F. Supp. 2d 747, 752 (E.D. Tex. 2013) (finding plaintiff’s “evidence and arguments presented for the first time upon
  objection to a report and recommendation need not be considered”).
  5
    Plaintiffs seemingly assert the “procedural quirks of [Rule] 736” that resulted in their filing of a separate action to
  halt Defendants’ separate Rule 736 expedited foreclosure proceeding should convince the Court to disregard the fact
  that Plaintiffs filed the instant suit outside of the applicable statute of limitations (Dkt. #97). The Court has already
  rejected the reasoning underlying this objection and concludes its earlier finding—that the Rule 736 proceeding
  constitutes a proceeding distinct from the counter-suit one must file to halt the Rule 736 proceeding—precludes
  Plaintiffs’ argument here (see Dkt. #62 at 11-13).


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         (A) the law that provides the applicable statute of limitations allows relation back;
         (B) the amendment asserts a claim or defense that arose out of the conduct,
         transaction, or occurrence set out--or attempted to be set out--in the original
         pleading; or
         (C) the amendment changes the party or the naming of the party against whom a
         claim is asserted, if Rule 15(c)(1)(B) is satisfied and if, within the period provided
         by Rule 4(m) for serving the summons and complaint, the party to be brought in by
         amendment:
                 (i) received such notice of the action that it will not be prejudiced in
         defending on the merits; and
                 (ii) knew or should have known that the action would have been brought
         against it, but for a mistake concerning the proper party's identity.

  Fed. R. Civ. P. 15. The Fifth Circuit has held that a party’s addition of “a new defendant generally

  does not relate back to the filing of the original complaint unless Federal Rule of Civil Procedure

  [15(c)(1)(C)] applies.” Braud v. Transp. Serv. Co. of Illinois, 445 F.3d 801, 806 (5th Cir. 2006);

  see also Fed. R. Civ. P. 15 advisory committee’s note 2007 (noting restyling of rule and providing

  Rule 15(c)(1)(C) replaces former Rule 15(c)(3)). This rule exists because “relation back is

  intimately connected with the statute of limitations . . . .” Id. at 806 n.12 (examining the Fed. R.

  Civ. P. 15 advisory committee’s notes and collecting cases). Courts evaluate “what the prospective

  defendant reasonably should have understood about the plaintiff’s intent in filing the original

  complaint” in determining whether Rule 15(c)(1)(C) applies. Al-Dahir v. F.B.I., 454 F. App’x

  238, 242 (5th Cir. 2011) (quoting Krupski v. Costa Crociere S.p.A., 560 U.S. 538 (2010)).

  Critically, where a plaintiff fails to show a newly named defendant “knew or should have known

  that the action would have been brought against it, but for a mistake concerning the proper party’s

  identity[,]” the plaintiff’s amendment adding claims against such defendant does not relate back

  under Rule 15(c). Id. (emphasis added) (quoting Fed. R. Civ. P. 15(c)); see also Orchestratehr,

  Inc. v. Trombetta, No. 3:13-cv-2110-KS-BH, 2016 WL 4563348, at *5 (N.D. Tex. Sept. 1, 2016)

  (“Even if the claims against [the newly named defendants] arose out of the same transaction as the




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  previously brought claims, for them to relate back to the original filing date, there must have been

  a mistake as to their identities.”).6

           Plaintiffs neither assert nor prove that HWA knew or should have known that the present

  suit would have been brought against it but for a mistake concerning its identity. Indeed, on the

  record before the Court, Plaintiffs knew of HWA’s involvement as counsel for SPS and Deutsche

  Bank since as early as November 2014 and yet did not indicate any intent to raise claims against

  HWA for such involvement until seeking leave to amend in 2017. See, e.g., Tapp v. Shaw Envtl.,

  Inc., 401 F. App’x 930, 934 (5th Cir. 2010) (per curiam) (finding plaintiff’s failure to “provide[]

  any evidence that [newly named defendant] had actual knowledge or should have been aware that

  it was an intended party to the suit within 120 days of the filing of [the] original Complaint”

  precluded relation back of the claim against the newly named defendant); Trombetta, 2016 WL

  4563348, at *5 (dismissing claims as barred by the applicable statute of limitations because they

  did not relate back to the lawsuit’s original filing date). The Court finds that Plaintiffs have

  attempted to raise their FDCPA against HWA for the first time in 2017, well after the statute of

  limitations has expired on such claim, and also that Plaintiffs fail to allege or show their

  amendment raising this claim should relate back to a date within the limitations period.7 The Court

  overrules Plaintiffs’ objection as to the claim against HWA for violation of the FDCPA.


  6
    The Court notes that, contrary to Plaintiffs’ argument that Braud “refers to a rule that no longer exists[,]” namely
  Fed. R. Civ. P. 15(c)(3), the advisory committee’s notes show that Rule 15(c)(3) was merely restyled as Rule
  15(c)(1)(C). Furthermore, courts have continued to hold (as did Braud) that, where a party amends to join a new
  party, the amendment will relate back only when the requirements of Rule 15(c)(1)(C) are met, notwithstanding Rule
  15(c)’s disjunctive wording. See supra cases cited in the text.
  7
    The Court notes Plaintiffs also attempt for the first time to raise new allegations in their reply in support of their
  objections regarding when HWA acted in contravention of the FDCPA (see Dkt. #97 at 3-4 (claiming “HWA made
  several statements in February 2016 that violate the FDCPA” and likewise in “March 2016”)). Plaintiffs did not raise
  these arguments before the Magistrate Judge or include such allegations in either the First-Filed Amended Complaint
  or the Amended Complaint (see Dkt. #66; Dkt. #75). See, e.g., Imperium, 920 F. Supp. 2d at 752 (finding plaintiff’s
  “evidence and arguments presented for the first time upon objection to a report and recommendation need not be
  considered”). Accordingly, the Court need not consider these allegations. Furthermore, the in-circuit authority
  Plaintiffs cite in support of their argument, Serna v. Law Office of Joseph Onwuteaka, P.C., 732 F.3d 440, 445 (5th
  Cir. 2013), is wholly inapposite. In Serna, the Fifth Circuit held the FDCPA statute of limitations begins to run in a


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           Plaintiffs’ claims against SPS also are barred by the applicable statute of limitations—

  irrespective of whether SPS constitutes a debt collector—and, thus, Plaintiffs’ attempt to add such

  claims similarly would constitute a futile amendment. Unlike amendments to add claims against

  new parties, amendments to add new claims against existing parties may relate back to the original

  pleading “when ‘the amendment asserts a claim or defense that arose out of the conduct,

  transaction, or occurrence’ set out in the original complaint.’” Lisle v. Plano, No. 4:15-cv-372,

  2016 WL 5415431, at *6 (E.D. Tex. Sept. 28, 2016) (quoting Fed. R. Civ. P. 15(c)(B)). Applied

  in the instant case, Plaintiffs’ amendment to add an FDCPA claim against SPS would relate back

  to the date of Plaintiffs’ filing of the original complaint in this action, that is, June 16, 2016 (see

  Dkt. #1). But the latest action Plaintiffs allege SPS took in the Amended Complaint was in

  November 2014 (see Dkt. #75 at 9). As a result, Plaintiffs’ claim against SPS under the FDCPA

  expired in November 2015, long before they filed suit in June 2016. Plaintiffs’ claim against SPS

  is barred by the applicable statute of limitations such that permitting Plaintiffs leave to amend to

  assert such claim would be futile. The Court overrules Plaintiffs’ objection as to the claim against

  SPS for violation of the FDCPA.8

  Application of the Hensgens Factors

           The Court further finds the Hensgens factors apply here and that the Magistrate Judge

  appropriately balanced those factors in recommending that the Court deny Plaintiffs leave to




  case where a debt collector files suit in violation of the FDCPA “fair venue” provision—i.e., files suit in a forum
  distant to the debtor—only once the debtor is served notice of suit. See 732 F.3d at 445-46. Plaintiffs have not before
  and do not now raise such claims. The out-of-circuit authorities likewise are inapplicable, as Plaintiffs failed to include
  in the Amended Complaint (the relevant document for the purposes of this analysis) any allegations of behavior on
  HWA’s part within one year of June 16, 2016, in violation of the FDCPA. See Stripling v. Jordan Prod. Co., LLC,
  234 F.3d 863, 872-73 (5th Cir. 2000) (holding “futility” in the context of amendment “mean[s] that the amended
  complaint . . . fail[s] to state a claim upon which relief could be granted” (emphasis added)).
  8
    The Court notes neither Party objects to the finding that Plaintiffs’ TDCA claims should be allowed, nor do they
  raise any argument regarding the statute of limitations applicable to Plaintiffs’ TDCA claims, if any. Accordingly,
  the Court does not consider any such argument here.


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  amend. Hensgens applies where a party seeks leave to amend to add a non-diverse party that, if

  added, would destroy the court’s subject-matter jurisdiction. Hensgens, 833 F.2d at 1181-82

  (assigning heightened scrutiny to amendments to join non-diverse parties where such would

  destroy the court’s subject-matter jurisdiction); see also 28 U.S.C. § 1447(e) (“If after removal the

  plaintiff seeks to join additional defendants whose joinder would destroy subject matter

  jurisdiction, the court may deny joinder, or permit joinder and remand the action to the State.”).

  In this case, Defendants removed solely on the basis of diversity jurisdiction (Dkt. #1) and, after

  finding each of the non-diverse Defendants named at the outset of the case improperly joined, the

  Court found it could exercise diversity jurisdiction over the case (Dkt. #62). The addition of a

  non-diverse defendant like HWA necessarily would destroy the Court’s existing basis for subject-

  matter jurisdiction.

         A.      Plaintiffs’ Argument Federal Question Jurisdiction Exists

         Plaintiffs first advance that, because they also assert a federal claim (through the FDCPA)

  against HWA, the Court still would retain subject-matter jurisdiction over the case, albeit on

  federal question grounds. Defendants argue in response that permitting such claim would enable

  Plaintiffs to engage in gamesmanship: Plaintiffs could simply achieve joinder of HWA, then

  dismiss the federal claim in an attempt to destroy the Court’s jurisdiction over the remaining

  (wholly state law) claims.

         Neither Party directs the Court to any authority holding that, where defendants remove a

  case solely on diversity grounds, a plaintiff may later raise a federal claim, such that even if

  diversity is destroyed, federal question jurisdiction would be created and/or maintained. Plaintiffs

  cite Kidd v. Sw. Airlines, Co., 891 F.2d 540 (5th Cir. 1990), in support of their argument that this

  can be achieved. See 891 F.2d at 545-46 (“Even though federal subject matter jurisdiction did not




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  exist over Kidd's original complaint, Kidd’s amended complaint, filed after removal, confers

  federal question jurisdiction on the district court by stating a claim under the Employee Retirement

  Income Security Act of 1977 . . . .”). But in Kidd, the defendant originally had removed on the

  basis of the court’s federal question, not diversity, jurisdiction, thus, the amended complaint cured

  deficiencies in the asserted basis for jurisdiction. See Kidd, 891 F.2d at 541-42. Moreover, the

  focus of the Court’s analysis in that case was that removal was improper to begin with, which is

  not the case here, where removal was proper on the basis of the Court’s diversity jurisdiction. Kidd

  is unpersuasive here, and the Court has found no case directly addressing this question in its own

  research. Consideration of Plaintiffs’ argument is largely academic, however, as it does not impact

  the Court’s resolution of Plaintiffs’ Motion. As noted supra, Plaintiffs assert only two federal

  claims through the Amended Complaint—under the FDCPA against HWA (a non-diverse

  defendant) and against SPS—and the Court has found that each of these claims should be rejected

  as futile. Joinder of HWA, then, necessarily would destroy the Court’s subject-matter jurisdiction,

  as the Parties no longer would be completely diverse; as a result, the Magistrate Judge properly

  examined HWA’s joinder through the lens of Hensgens and properly balanced the factors

  prescribed therein.

         B.      Delay and Motive Properly Considered Whether Hensgens Applies or not

         Further, and with regard to Plaintiffs’ attempt to join HWA, the Magistrate Judge properly

  considered Plaintiffs’ delay and representations regarding joinder of HWA and the Court’s

  jurisdiction, irrespective of whether Hensgens applies in this case. Courts in this circuit infer bad

  faith in seeking amendment where the party seeking leave to amend knew of the facts underlying

  the claim at the time the party filed the original pleading and yet delayed in amending. See, e.g.,

  In re Southmark Corp., 88 F.3d 311, 316 (5th Cir. 1996) (upholding denial of leave to amend




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  where party “sought leave to add both a fact of which it had been aware since before it filed its

  original complaint and a cause of action based on the identical, known facts [underlying] its

  original complaint”); Starling v. Fuller, 74 F.3d 1236, *2 & n.1 (5th Cir. 1995) (unpublished)

  (finding district court did not abuse discretion in finding plaintiffs exhibited bad faith in seeking

  amendment where plaintiffs knew of the facts underlying the added claim “well before [they] filed

  their original complaint”); Ameristar Jet Charter, Inc. v. Signal Composites, Inc., No. 3:98-cv-

  1360-L, 1999 WL 508411, at *4 (N.D. Tex. July 16, 1999) (denying leave to amend to join new

  party). Courts also consider whether the party has offered a “reasonable explanation for its delay

  in amending its complaint.” In re Southmark, 88 F.3d at 316 (noting “in exercising . . . discretion

  to deny leave to amend a complaint, a trial court may properly consider (1) an ‘unexplained delay’

  following an original complaint, and (2) whether the facts underlying the amended complaint were

  known to the party when the original complaint was filed”). Here, Plaintiffs filed suit in June 2016.

  Plaintiffs were aware of HWA and any claims they might have against it at that time. Further,

  courts examine the context of a party’s request for leave to amend to determine the party’s

  underlying motive in seeking leave. See, e.g., Wimm v. Jack Eckerd Corp., 3 F.3d 137, 139-42

  (5th Cir. 1993) (upholding district court’s denial of leave to amend where “plaintiffs knew of the

  facts underlying their [newly raised] claim before this action commenced” and where plaintiffs

  waited to file leave to amend until after defendant filed a motion for summary judgment); Smith v.

  Chrysler Grp., LLC, No. 1:15-cv-218, 2016 WL 7743688, at *4 (E.D. Tex. Aug. 12, 2016)

  (denying leave to amend and finding plaintiff’s “failure to plead a cause of action that was readily

  apparent at the outset of the case strongly suggest[ed] either a lack of diligence . . . or bad faith”

  where plaintiff “admit[ted] that the facts supporting [her] breach of contract claim were apparent

  when she filed suit” but waited until after the court granted summary judgment against her on other




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  claims). The Magistrate Judge documented well both the context of Plaintiffs’ request for leave

  to amend and Plaintiffs’ apparent motive in seeking leave (i.e., to destroy jurisdiction):

         To begin, Plaintiffs knew or should have known they had claims, if any, against
         HWA prior to filing suit in the instant case. Specifically, Plaintiffs allege HWA
         contacted them as early as November 10, 2014, at SPS’s behest [see Dkt. 75 at 10].
         Plaintiffs filed the present suit on June 6, 2016, more than eighteen months after
         this alleged contact, asserting claims related to foreclosure of their home; Plaintiffs
         raised no claims against HWA in the Original Petition and did not allege any
         wrongdoing associated with the foreclosure itself [Dkt. 1]. In the most recent
         Amended Complaint, Plaintiffs add allegations that SPS and HWA acted
         wrongfully in sending letters and/or making telephone calls to Plaintiffs threatening
         foreclosure of an allegedly void lien [Dkt. 75 at 9, 28-29]. This wrongful conduct,
         Plaintiffs allege, violates the FDCPA and the TDCA [Dkt. 75 at 28-29]. Plaintiffs’
         pleadings demonstrate Plaintiffs knew of HWA and its alleged wrongful conduct
         before bringing suit; Plaintiffs’ attempt to join HWA and assert claims against it
         now, only after Defendants removed the case and the Court has denied remand,
         appears primarily to be a last-ditch effort to destroy the Court’s jurisdiction over
         this case. . . . Plaintiffs (and their counsel) have used this tactic before in this very
         Court, and to no avail. Priester, 2011 WL 6116481, at *2 (finding that, because
         the Priesters—Plaintiffs herein—“should have known of the existence of” certain
         non-diverse defendants added after named defendants therein removed the case,
         Plaintiffs’ attempt to join and assert claims against those defendants once in federal
         court “appear[ed] to the Court” to be an attempt “simply to defeat the Court’s
         jurisdiction”); see also Feuerbacher, 2015 WL 7756128, at *1-2 (same counsel
         using same tactic—filing an amended complaint without leave and joining non-
         diverse parties in an apparent attempt to destroy diversity jurisdiction after
         removal). Furthermore, Plaintiffs make clear in their Motion and in the most recent
         Amended Complaint that they believe jurisdiction over their claims vests only in
         Texas state courts [Dkt. 74 at 1 (“These interrelated matters should have
         permanently placed jurisdiction in the Texas State Courts to address matters
         concerning the Texas State Constitution and Texas real property.”), 4 (“Plaintiffs
         believed there was no viable method for the Court to assert jurisdiction over the
         matters that clearly implicate crucial matters of state law[] . . . .”), 6 (“[T]he
         addition of the debt collectors serves the additional end [of] curing the other
         Defendants’ forum manipulation.”), 8 (“Plaintiffs again urge this court to
         reconsider that determination, . . . this should be a matter for the State Courts to
         determine and the Federal Courts should avoid another Six years of bad law.”); see
         also Dkt. 75 at 3 (“Defendants, . . . Hughes, Watters, & Askanse LLP are . . . Texas
         residents destroying diversity.”)]. And Plaintiffs do not explain why they waited
         to join HWA until now, though they knew of HWA and apparently of the claims
         against it as early as November 2014.




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  (Dkt. #82 at 6-7). The Magistrate Judge thus concluded (within the Hensgens analysis) that

  “Plaintiffs’ tactics and representations militate heavily in favor of denying amendment” (Dkt. #82

  at 8). The Court agrees: Plaintiffs’ repeated representations in this matter regarding the Court’s

  lack of jurisdiction (specifically, that the addition of HWA defeats jurisdiction (Dkt. #75 at 3; see

  also Dkt. #91 at 3)) and the timing of their motion requesting leave to amend are indicative of their

  motive in seeking leave here. Accordingly, even were the Court to find Hensgens does not apply

  in this matter, the Court would deny Plaintiffs’ request for leave to amend to join HWA as party,

  as it is clear from Plaintiffs’ representations (and timing) that the attempt to join HWA is an

  improper use of amendment procedure. See Wimm, 3 F.3d at 139 (noting “such factors as undue

  delay, bad faith or dilatory motive on the part of the movant, repeated failure to cure deficiencies

  by amendments previously allowed, undue prejudice to the opposing party, and futility of

  amendment” inform the determination whether amendment should be permitted); see also Smith,

  2016 WL 7743688, at *4. In light of the foregoing, Plaintiffs’ request to amend in order to join

  HWA as a party to this lawsuit should be denied. The Court overrules Plaintiffs’ objection.

                                           CONCLUSION

           Having considered each of Plaintiffs’ timely filed objections (Dkt. #87) and Defendants’

  response thereto (Dkt. #95), and Plaintiffs’ reply (Dkt. #97), and having conducted a de novo

  review, the Court is of the opinion that the findings and conclusions of the Magistrate Judge are

  correct and adopts the Magistrate Judge’s report (Dkt. #82) as the findings and conclusions of the

  Court.

           Accordingly, it is ORDERED that Plaintiffs John Priester and Bettie Priester’s Partially

  Unopposed Motion for Miscellaneous Relief (Dkt. #74) is GRANTED IN PART AND DENIED

  IN PART, that Plaintiffs are DENIED leave to file the Amended Complaint (Dkt. #75), and that




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    Plaintiffs’ first-filed Amended Complaint (Dkt. #66) is STRICKEN.

           It is further ORDERED that Plaintiffs are granted leave to file an amended complaint

    within fourteen (14) days of the date of this order strictly in compliance with the Court’s

    instructions, which permit only as follows: Plaintiffs are permitted to amend to provide factual

    allegations as directed in the Court’s March 3 Memorandum (Dkt. #64), which permits only that

    Plaintiffs describe “more fully . . . the details of the alleged material change in circumstances”

    defense they have asserted; Plaintiffs are further permitted to add claims under the TDCA as

    alleged in the Amended Complaint (Dkt. #75) against Defendants Deutsche Bank and SPS. The

    amended complaint shall not attempt to join any new (or previously dismissed) parties, to add any

    new claims not authorized herein (i.e., any new claims other than the TDCA claims as alleged in

    the Amended Complaint (Dkt. #75) against Defendants Deutsche Bank and SPS), or in any way

.   to deviate from the express instructions provided herein. Should Plaintiffs seek to add any new

    parties, to add any other new claims, or in any way to deviate from the express instructions

    provided herein, Plaintiffs must first seek leave of Court through a motion requesting same.

           IT IS SO ORDERED.
           SIGNED this 30th day of June, 2017.




                                          ___________________________________
                                          AMOS L. MAZZANT
                                          UNITED STATES DISTRICT JUDGE




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